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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
JASON LEOPOLD &                      )
BUZZFEED, INC.,                      )
                                     )
                  Plaintiffs,        )
                                     )
      v.                             )  Civil Action No. 19-957 (RBW)
                                     )
UNITED STATES DEPARTMENT OF          )
JUSTICE, et al.,                     )
                                     )
                  Defendants.        )
____________________________________ )


                                            ORDER

       In accordance with the oral rulings issued by the Court at the status conference held on

October 19, 2022, via teleconference, it is hereby

       ORDERED that the defendant shall pay the plaintiffs’ costs in the amount of $400.

       SO ORDERED this 26th day of October, 2022.


                                                            REGGIE B. WALTON
                                                            United States District Judge
